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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                         )
 US DOMINION, INC., DOMINION
                                                         )
 VOTING SYSTEMS, INC., and DOMINION
                                                         )
 VOTING SYSTEMS CORPORATION,
                                                         )
                                                         )
        Plaintiffs,
                                                         )
                                                         )    Civil Case No. 1:21-cv-00213-CJN
              v.
                                                         )
                                                         )
 RUDOLPH W. GIULIANI,
                                                         )
                                                         )
       Defendant.
                                                         )

                   PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND TIME
                         TO RESPOND TO MOTION TO DISMISS

       Pursuant to Local Rule 7 and Fed. R. Civ. P. 6(b), U.S. Dominion, Inc., Dominion Voting

Systems, Inc., and Dominion Voting Systems Corp. (“Plaintiffs”) respectfully move to extend the

time within which plaintiffs may respond to the motion to dismiss filed by defendant

Rudolph W. Giuliani (“Defendant”) (Dkt. 26) by two weeks. Currently, Plaintiffs’ opposition is

due April 21, 2021. The relief requested would extend Plaintiffs’ deadline to May 5, 2021.

Pursuant to Local Rule 7(m), the parties’ counsel conferred about the proposed extension, and

Defendant does not oppose this motion.

       In support of this motion, Plaintiffs state as follows:

       1.          Pursuant to Paragraph 9(b)(i)-(ii) of this Court’s standing order (Dkt. 7), Plaintiffs’

response is due April 21, 2021. No party has sought a prior extension of these dates; on March 4,

2021, Defendant sought a 35-day extension to answer or move in response to the complaint. (Dkt.

11.) That extension was granted. (Minute Order (Mar. 9, 2021).)




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       2.       Pursuant to Paragraph 9(b)(iv)-(v) of this Court’s standing order, the requested

relief would not affect any other deadlines (i.e., no hearings are set, and the requested relief

provides a complete briefing schedule for the motion to dismiss).

       3.       Pursuant to Paragraph 9(b)(vi) of this Court’s standing order, Defendant does not

oppose the requested extension of Plaintiffs’ time within which to respond.

       4.       Pursuant to Paragraph 9(b)(iii) of this Court’s standing order, Defendants seek the

requested extension for the following good cause:

            Plaintiffs’ counsel has a response to a motion to dismiss due on April 19, 2021, in U.S.

             Dominion, Inc. v. Powell, No. 1:21-cv-00040-CJN (D.D.C. Jan. 8, 2021), which will

             require counsel’s focus at the same time as the currently scheduled response.

            New counsel appeared on behalf of Plaintiffs on or about April 2, 2021 in this matter,

             and counsel must prepare a response to the memorandum in support of Defendant’s

             motion to dismiss.

       5.       Plaintiffs respectfully submit that the foregoing constitutes good cause for an

extension under Fed. R. Civ. P. 6(b)(1) (“[w]hen an act may or must be done within a specified

time, the court may, for good cause, extend the time”), that they do not seek these enlargements

for purpose of delay or frustration of the progress of this matter, and that the respective

enlargements would not unduly burden the opposite parties.

       WHEREFORE, Plaintiffs respectfully ask this Court to extend until May 5, 2021,

Plaintiffs’ time within which to respond to the motion to dismiss.

Dated: April 13, 2021                          BY:      SUSMAN GODFREY LLP

                                                        /s/ Justin A. Nelson
                                                         Justin A. Nelson

                                                      Justin A. Nelson


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of April 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.



                                                   /s/ Justin A. Nelson
                                                   Justin A. Nelson




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